
“ The court is of opinion that the said decree is erroneous in not perpetuating the injunction for the whole sum recovered by the judgment enjoined; it appearing to the court that the appellee was entitled to a credit for forty-five bushels of wheat,'at five shillings per bushel, with interest thereon from the year 1787, which sum, added to that allowed him by the decree, would more than have extinguished the judgment. Therefore it is decreed and ordered, that so much of the said decree as gives to the appellee hÍ3 costs in the superior court of chancery be affirmed ; that the residue thereof be reversed and annulled ; and that the appellant pay to the appellee, as the party substantially prevailing, his costs by him about his defence in this behalf expended. And ibis court proceeding to make such decree as the said court of chancery ought to have pronounced in lieu of that part which is reversed, it is further decreed and ordered, that the injunction aforesaid be perpetuated as :o the whole sum recovered by the judgment enjoined as Aforesaid.”
